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 1   Preciliano Martinez, Bar No. 93253
     801 15th Street, Suite F
 2   Modesto, CA 95354
     (209) 579-2206/(209) 579-2211 Fax
 3
 4
 5   Attorney For Defendant
     Noe Manzo Alvarez
 6
 7                           IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
11
12   UNITED STATES OF AMERICA,      ) No.                 2: 04 - cr - 467 GEB
                                     )
13                      Plaintiff,   )
                                     ) STIPULATION AND ORDER VACATING DATE,
14                                   ) AND CONTINUING CASE
             v.                      )
15                                   )
      Noe Manzo Alvarez              )
16                                   ) Date: February 10, 2006
                                     ) Time: 9:00 a.m.
17                      Defendant.   ) Judge: Hon. Garland E. Burrell, Jr.
     _______________________________
18
19          IT IS HEREBY STIPULATED by and between Assistant United States Attorney
20   Mathew Segal, Counsel for Plaintiff, Attorney Preciliano Martinez. Counsel for Defendant Noe
21   Manzo Alvarez and Attorney Dina L. Santos Counsel for defendant Carlos Alvarez, that the
22   sentencing hearing scheduled for January 13, 2006, be vacated and the matter be continued to
23   this court’s calendar on February 10, 2006 at 9:00 a.m.
24          This continuance is requested by the defense in order to permit the defendants to fulfill
25   their obligations pursuant to section 18 US.C. § 3553 and US.S. G § 5C1.2.
26          The court is advised that counsel have conferred about this request, that they have agreed
27   to the February 10, 2006 date, and that Ms. Santos has authorized Preciliano Martinez to sign this
28   stipulation on her behalf.
              Case 2:04-cr-00467-GEB Document 54 Filed 01/26/06 Page 2 of 2


 1          IT IS SO STIPULATED.
 2   Dated: January 04, 2006                     /S/ Preciliano Martinez
                                                     PRECILIANO MARTINEZ
 3                                                   Attorney for Defendant
                                                     Noe Manzo Alvarez
 4
 5
 6   Dated: Januarty 04, 2006                    /S/ Dina L. Santos
                                                     DINA L. SANTOS
 7                                                   Attorney for Carlos Alvarez
 8
 9   Dated: January 04, 2006                     /S/ Mathew Segal
                                                     MATHEW SEGAL
10                                                   Assistant United States Attorney
                                                     Attorney for Plaintiff
11
12          IT IS SO STIPULATED.
13                              By the Court,
14
     Dated: January 26, 2006
15
16                                         /s/ Garland E. Burrell, Jr.
                                           GARLAND E. BURRELL, JR.
17                                         United States District Judge
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